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        EXHIBIT 128
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                                  HIGHLY CONFIDENTIAL

                                                                     Page 1

   1                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
   2                               ALEXANDRIA DIVISION
   3
           UNITED STATES, et al.          §
   4                                      §
           VS.                            §   NO. 1:23-cv-00108-LMB-JFA
   5                                      §
           GOOGLE, LLC                    §
   6
   7                  ORAL AND VIDEOTAPED DEPOSITION OF BO BRADBURY
                                   SEPTEMBER 8, 2023
   8                               HIGHLY CONFIDENTIAL
   9
  10             ORAL AND VIDEOTAPED DEPOSITION OF BO BRADBURY,
  11       produced as a witness at the instance of the Defendant and
  12       duly sworn, was taken in the above styled and numbered
  13       cause on Friday, September 8, 2023, from 9:39 a.m. to 4:56
  14       p.m., before Janalyn Elkins, CSR, in and for the State of
  15       Texas, reported by computerized stenotype machine, at the
  16       JW Marriott, 112 E. 2nd Street, Austin, Texas, pursuant to
  17       the Federal Rules of Civil Procedure and any provisions
  18       stated on the record herein.
  19
  20
  21
  22
  23
  24
  25      Job No. CS6091854

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                                                                 HIGHLY CONFIDENTIAL
                                                                        Page 2                                                               Page 4
       1                 APPEARANCES
       2
                                                                                  1            THE REPORTER: Mr. Lynch, are you going to
         FOR THE PLAINTIFF:                                                       2 want a copy?
       3    KATHERINE E. CLEMONS
            ISABEL AGNEW                                                          3            MR. LYNCH: Yes.
       4    U.S. DEPARTMENT OF JUSTICE, ANTITRUST DIVISION                        4            THE REPORTER: And do you want a rough
            450 Fifth Street, NW, Suite 7000
       5    Washington, DC 20530                                                  5 draft and real time?
            Tel: (202) 598-2372
       6    Katherine.Clemons@usdoj.gov
                                                                                  6            MR. LYNCH: Whatever everyone else is
            Isabel.agnew@usdoj.gov                                                7 getting.
       7
       8 FOR THE DEFENDANT:                                                       8            THE REPORTER: And Ms. Clemons, do you want
            LAUREN KAPLIN                                                         9 an expedite?
       9    LIJUN ZHANG
            FRESHFIELDS                                                          10            MS. CLEMONS: Yes.
      10    700 13th Street, NW, 10th Floor
            Washington, DC 20005
                                                                                 11            VIDEOGRAPHER: Here begins the deposition
      11    Tel: (202) 777-4518                                                  12 of Bo Bradbury. Today's date is September 8, 2023. The
            lauren.kaplin@freshfields.com
      12    Lijun.zhang@freshfields.com                                          13 time is 9:40 a.m. Will counsel please identify
      13                                                                         14 themselves for the record, after which the court
         FOR THE WITNESS:
      14    NIALL LYNCH                                                          15 reporter will swear in the witness.
            LATHAM & WATKINS
      15    505 Montgomery Street, Suite 2000
                                                                                 16            MS. KAPLIN: Lauren Kaplin here with
            San Francisco, California 94111                                      17 Freshfields on behalf of Google.
      16    Tel: (415) 391-0600
            niall.lynch@lw.com                                                   18            MR. ZHANG: Lijun Zhang with Freshfields on
      17                                                                         19 behalf of Google.
      18
         Also Present:                                                           20            MR. LYNCH: Niall --
      19    PETER ZIERLEIN
            KAILEN MALLOY
                                                                                 21            MS. BOSCO: Sorry, I'm on Zoom here, but
      20                                                                         22 Veronica Bosco, also from Freshfields on behalf of
      21
      22                                                                         23 Google.
      23                                                                         24            MR. LYNCH: Niall Lynch from Latham &
      24
      25                                                                         25 Watkins on behalf of Omnicom and the witness Bo Bradley.

                                                                        Page 3                                                               Page 5
       1                      INDEX
       2                                         PAGE
                                                                                  1            MS. MALLOY: Kailen Malloy from Latham &
       3                                                                          2   Watkins, also on behalf on Omnicom and the witness.
           Appearances .................................. 2
       4                                                                          3            MS. CLEMONS: Katherine Clemons, the
           Stipulations ................................. 5                       4   Department of Justice on behalf of the United States of
       5
         BO BRADBURY                                                              5   America.
       6 Examination by Ms. Kaplin .................... 5                         6            MS. AGNEW: Isabel Agnew on behalf of
         Examination by Ms. Clemons ................... 99
       7 Further Examination by Ms. Kaplin ............ 200                       7   United States.
         Further Examination by Ms. Clemons............ 209                       8                  BO BRADBURY,
       8
         Signature and Changes......................... 214                       9   having been duly sworn, testified as follows:
       9
         Reporter's Certificate........................ 216
                                                                                 10                  EXAMINATION
      10                                                                         11      Q. (BY MS. KAPLIN) Good morning, Mr. Bradbury.
      11
                     EXHIBITS                                                    12      A. Good morning.
      12                                                                         13      Q. My name is Lauren Kaplin. I just introduced
         NO.        DESCRIPTION                           PAGE
      13 Exhibit 1 Email                             34                          14   myself. I'm here representing Google. Can you state
         Exhibit 2 Email                             62                          15   your full name again for the record?
      14 Exhibit 3 Email                             76
         Exhibit 4 Contractor Performance                                        16      A. Yes. Full name, Robert Easton Bradbury, III.
      15          Assessment Report                     82
         Exhibit 5 Solicitaion, Offer, and
                                                                                 17   Bo is the nickname, so more manageable.
      16          Award                          92                              18      Q. Thank you.
         Exhibit 6 Invoice                           159
      17 Exhibit 7 Invoice                           180                         19            And who's your current employer?
         Exhibit 8 Invoice                           187                         20      A. GSD&M.
      18 Exhibit 9 Invoice                           187
      19                                                                         21      Q. Okay. Your job title currently?
      20                                                                         22      A. Senior vice president, managing director.
      21
      22                                                                         23      Q. Okay. And where do you live?
      23                                                                         24      A. Austin, Texas.
      24
      25                                                                         25      Q. You're represented here by counsel today?

                                                                                                                                  2 (Pages 2 - 5)
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                                                   HIGHLY CONFIDENTIAL
                                                              Page 42                                                         Page 44
       1            MS. CLEMONS: Objection, form.                        1   overlap between some of these categories?
       2            THE WITNESS: It is. Yes.                             2            MS. CLEMONS: Objection, form.
       3       Q. (BY MS. KAPLIN) So, sorry. How is it                   3            THE WITNESS: Yes. Yes.
       4   purchased?                                                    4      Q. (BY MS. KAPLIN) Partnerships and mobile tours
       5       A. Yes. The partnerships are negotiated directly          5   you already described. And then web and digital
       6   with the respective entity.                                   6   experiences, what's that?
       7       Q. Including purchasing display advertising on            7      A. Yes. For the Air Force, we're very fortunate
       8   their website?                                                8   to obviously have a very robust digital presence via its
       9       A. Correct.                                               9   own owned website. So airforce.com is kind of the key
      10       Q. And then mobile tours, I think you already            10   focal point for communications, engagement with
      11   described a little bit earlier?                              11   audiences, influencers, prospects, et cetera. And
      12       A. Yes.                                                  12   within that perspective, we actually have interactive
      13       Q. Next under the engage phase, would you                13   elements, whether that's kind of story-telling
      14   describe -- we already -- you already talked about video     14   components on there, whether that is specific gaming
      15   and social. The next one is online display. Can you          15   executions that are developed. We have a gaming section
      16   tell me what that includes?                                  16   on the site.
      17       A. Certainly. Again, this would be more what you         17            So again, we're leveraging, again, those
      18   might want to consider your kind of traditional internet     18   types of -- we're creating digital experiences. Those
      19   or web advertising of messaging, typically in a static       19   can be carried through on the -- on the website. You'll
      20   form, which is then providing some call to action or a       20   find some of those digital experiences also when
      21   link through to a designated, typically a page or the        21   increasingly, as we move to a very much of a mobile web
      22   home page, if you will, of airforce.com, Air National        22   environment, if we're creating something that someone
      23   Guard, corresponding website, et cetera. So somewhere        23   can interact with on a desktop setting, we want that to
      24   capturing interest. And then, if -- if we're doing a         24   be obviously accessible from a mobile setting and other
      25   good job of intriguing the individual, they access that      25   places. We may also take those types of engagements
                                                              Page 43                                                         Page 45
       1   unit and then pursue more information at another              1   that we create and bring them to a mobile tour as well.
       2   destination.                                                  2              So imagine if Air Force has created a game
       3       Q. And so that would include like banner ads?             3   on airforce.com, we can also -- you may see that game at
       4       A. It would.                                              4   a county fair, at a marketing footprint, allowing an
       5       Q. Does it include native ads?                            5   audience to interact with it there.
       6             MS. CLEMONS: Objection, form.                       6        Q. So you raised an interesting point that I
       7             THE WITNESS: Yes.                                   7   wanted to just circle back on. You said that, you know,
       8       Q. (BY MS. KAPLIN) What about rich media ads?             8   you maybe want to be able to access it both on a mobile
       9       A. Display, I think technically you could -- we           9   device and desktop device. Does that apply for video,
      10   would probably consider that under really, video. But        10   social -- does that apply for the other categories as
      11   yes. I think as we look to deliver video, it's               11   well?
      12   agnostic, whether that is in a digital sense or              12              MS. CLEMONS: Objection, form.
      13   streaming sense. But certainly from a technical              13              THE WITNESS: Yes, it does.
      14   perspective, you could probably serve a rich unit or a       14        Q. (BY MS. KAPLIN) So where would you -- if
      15   video unit through display. Yes, ma'am.                      15   you -- for the category online display, where would you
      16       Q. Well, maybe I should have asked this question         16   envision someone viewing those ads on web devices?
      17   first. What does rich media mean to you?                     17              MS. CLEMONS: Objection -- objection, form.
      18       A. From my perspective, ma'am, I would say some          18              THE WITNESS: It would be I think from --
      19   element of -- of motion; whether that is animation,          19   it's clearly both. And you will have consumption of the
      20   actual playing of video asset within a unit or maybe         20   messaging, both in a desktop setting, but increasingly
      21   some interactive element, if there is essentially kind       21   in a mobile setting. And that's consistent with, I
      22   of, maybe, a gamification aspect within a display. Some      22   think, overall digital penetration and how consumers'
      23   level of -- in its crudest description -- motion             23   access to the web is changing to be very mobile-centric.
      24   interactivity.                                               24        Q. (BY MS. KAPLIN) And is that the same for video
      25       Q. So it sounds like there's a little bit of             25   and social as well?

                                                                                                               12 (Pages 42 - 45)
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                                                        HIGHLY CONFIDENTIAL
                                                                      Page 214                                                        Page 216
       1               ERRATA PAGE                                                1               REPORTER'S CERTIFICATION
       2 WITNESS NAME: BO BRADBURY             DATE: 09/08/2023                                   DEPOSITION OF BO BRADBURY
       3 PAGE LINE CHANGE               REASON                                    2               TAKEN SEPTEMBER 8, 2023
       4 ________________________________________________________                 3          I, Janalyn Elkins, Certified Shorthand
       5 ________________________________________________________                 4   Reporter in and for the State of Texas, hereby certify
       6 ________________________________________________________                 5   to the following:
       7 ________________________________________________________                 6          That the witness, BO BRADBURY, was duly sworn
       8 ________________________________________________________                 7   by the officer and that the transcript of the oral
       9 ________________________________________________________                 8   deposition is a true record of the testimony given by
      10 ________________________________________________________                 9   the witness;
      11 ________________________________________________________                10          That the original deposition was delivered to
      12 ________________________________________________________                11   LAUREN KAPLIN;
      13 ________________________________________________________                12          That a copy of this certificate was served on
      14 ________________________________________________________                13   all parties and/or the witness shown herein on
      15 ________________________________________________________                14   __________________________.
      16 ________________________________________________________                15          I further certify that pursuant to FRCP No.
      17 ________________________________________________________                16   30(f)(i) that the signature of the deponent was
      18 ________________________________________________________                17   requested by the deponent or a party before the
      19 ________________________________________________________                18   completion of the deposition and that the signature is
      20 ________________________________________________________                19   to be returned within 30 days from date of receipt of
      21 ________________________________________________________                20   the transcript. If returned, the attached Changes and
      22 ________________________________________________________                21   Signature Page contains any changes and the reasons
      23 ________________________________________________________                22   therefor.
      24 ________________________________________________________                23          I further certify that I am neither counsel
      25 ________________________________________________________                24   for, related to, nor employed by any of the parties in
           Job No. CS6091854                                                     25   the action in which this proceeding was taken, and
                                                                      Page 215                                                        Page 217
       1            ACKNOWLEDGMENT OF DEPONENT                                    1 further that I am not financially or otherwise
       2                                                                          2 interested in the outcome of the action.
       3          I, BO BRADBURY, do hereby certify that I have                   3        Certified to by me this 10th day of September
       4   read the foregoing pages and that the same is a correct
                                                                                  4 2023.
       5   transcription of the answers given by me to the
       6   questions therein propounded, except for the corrections               5
       7   or changes in form or substance, if any, noted on the                  6             <%12798,Signature%>
       8   attached errata page.                                                                JANALYN ELKINS
       9                                                                          7             Texas CSR 3631
      10      ____________________________________________                                      Expiration Date 1/31/2025
              BO BRADBURY             DATE                                        8             Veritext Legal Solutions
      11
                                                                                                300 Throckmorton Street, Suite 1600
      12
      13 THE STATE OF TEXAS )                                                     9             Fort Worth, Texas 76102
                       )                                                                        Firm Registration No. 571
      14 COUNTY OF ___________)                                                  10             PH: (817) 336-3042
      15                                                                         11
                Before me,             , on this day                             12
      16 personally appeared BO BRADBURY, known to me (or proved                 13
          to me under oath or through
                                                                                 14
      17 (description of identity card or other document) to be
          the person whose name is subscribed to the foregoing
                                                                                 15
      18 instrument and acknowledged to me that they executed the                16
          same for the purposes and consideration therein                        17
      19 expressed.                                                              18
      20        Given under my hand and seal of office this                      19
          ____ day of            ,     .                                         20
      21
                                                                                 21
      22
                         NOTARY PUBLIC IN AND FOR
                                                                                 22
      23                 THE STATE OF                                            23
      24                                                                         24
      25 Job No. CS6091854                                                       25

                                                                                                                    55 (Pages 214 - 217)
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